91 F.3d 148
    NOTICE:  Eighth Circuit Rule 28A(k) governs citation of unpublished opinions and provides that they are not precedent and generally should not be cited unless relevant to establishing the doctrines of res judicata, collateral estoppel, the law of the case, or if the opinion has persuasive value on a material issue and no published opinion would serve as well.Alexander B. DAVIS, Appellant,v.UNITED STATES of America, Appellee.
    No. 95-2474.
    United States Court of Appeals, Eighth Circuit.
    Submitted June 27, 1996.Filed July 5, 1996.
    
      Before BEAM, LOKEN, and MORRIS SHEPPARD ARNOLD, Circuit Judges.
      PER CURIAM.
    
    
      1
      Alexander B. Davis appeals from the district court's1 denial of his 28 U.S.C. § 2255 motion without an evidentiary hearing.  After carefully reviewing the record before us and the parties' briefs, we conclude the district court's judgment was correct.  Accordingly, we affirm.  See 8th Cir.  R. 47B.
    
    
      
        1
         The Honorable Stephen N. Limbaugh, United States District Judge for the Eastern District of Missouri
      
    
    